                                                           EXHIBIT
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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                :
 SECURITIES AND EXCHANGE                                        :
 COMMISSION,                                                    :
                                                                :   No. 16 Civ 00828 (KMW)
                                     Plaintiff,                 :
                                                                :   ECF Case
                   v.                                           :
                                                                :
 AMERICAN GROWTH FUNDING II, LLC,                               :
 PORTFOLIO ADVISORS ALLIANCE, INC., :
 RALPH C. JOHNSON,                                              :
 HOWARD J. ALLEN III                                            :
 and                                                            :
 KERRI L. WASSERMAN,                                            :
                                                                :
                                     Defendants.                :
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            PLAINTIFF SECURITIES AND EXCHANGE COMMISSION’S
                          NOTICE OF DEPOSITION

       Rule 30(b)(6) Deposition of Defendant American Growth Funding II, LLC

         PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(6) of the Federal Rules of

Civil Procedure (“Rule”) and the Court Order of April 30, 2018 (ECF No. 149), Plaintiff

Securities and Exchange Commission (the “Commission”), by its attorneys, will take the

deposition upon oral examination of Rule 30(b)(6) witness(es) for Defendant American

Growth Funding II, LLC (“AGF II”), before an officer or other person authorized by law to

administer oaths, on June 6, 2018, at 10:00 a.m., to continue from day to day until

completed, at the Commission’s New York Regional Office, Brookfield Place, 200 Vesey

Street, Suite 400, New York, New York 10281-1022.

         Pursuant to Rule 30(b)(6), AGF II is requested to designate one or more officers,

directors, or managing agents, or designate other persons who consent to testify on its
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behalf. The Commission intends to examine the Rule 30(b)(6) witness(es) for AGF II on

its Financial Statements with Independent Auditors’ Report for the Year Ended December

31, 2015 (dated February 28, 2018), including, but not limited to, the AGF II’s accounting

for the “prior period” or restatement adjustments in its financial statements.

         The deposition is to be recorded by stenographic and video-graphic means

pursuant to Rule 30(b)(3).

         YOU ARE INVITED to attend and cross-examine.

  Dated: May 2, 2018
         New York, New York

                                        /s Richard Hong
                                        Alexander M. Vasilescu
                                        Richard Hong
                                        Karen M. Lee
                                        Attorneys for the Plaintiff
                                        SECURITIES AND EXCHANGE COMMISSION
                                        Brookfield Place
                                        200 Vesey Street, Suite 400
                                        New York, New York 10281-1022
                                        (212) 336-0956 (Hong)

                               CERTIFICATE OF SERVICE

         On May 2, 2018, I caused true and correct copies of the foregoing Plaintiff

  Securities and Exchange Commission’s Notice of Deposition to the following persons at

  the respective email addresses below:

                 Mark J. Astarita, Esq.
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                  and Ralph C. Johnson)

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         Howard J. Allen, III and Kerri L. Wasserman).


                                                    /s/ Richard Hong
                                                    Richard Hong
                                                    Counsel for Plaintiff




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